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     NEX AStIMTED STATES OF ANIERICA GRANTOR AND MARIE DALTON AS
     G…
                              IN THE IJMTED STATES DISIRICT COuRT
                                 FOR THE DISTRICT OF COLORADO                                                         ￨ン   」
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     Ci宙 l Action No ll‐ 02106‐ PAB‐ CBS

    UNITED STATES OF′ 曲凋ERICA,

                    Plaint範

     V

    927 COLE STREET,GOLDEN,COLORADO,and

    2008 TOYOTA HIGHLADER VIN#JTEES42A182076495;

                    Dcfcndants.



                                      NOTICE OF LIS PENDENS


    NAME OF RECORD TITLE OWNER: Marie Dalton

            Notice is hereby given of the pendency of a cMl action hought by the plaintiff agahst the

     below described real property by a verified complaint offorfeihrc filed with the Clerk ofthe United

     States District Court for the Distict ofColorado, which action was brought for the forfeitwe ofthe

    defendant real property pursuant to lE U.S.C. $ 981.

            The pmperty which is the subject of this action is located at 927 Cole Sheet, Golde&

    Colorado, more particularly described as:

            Parcel B, Exemption Survey Section 6, Township 4 South, Range 69 West, E l8-3-93
            according to the Exemption Survey Recorded June 4, 1993 at Recrpdon No.
            930796214 in Book 1 I 3 at Page 26, County ofJeffersoq State of Colorado.




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       r∝ ords ofthe Clerk ofぬ e Cout forthe Udted States Dis饉 ct Court,Disdct ofColorado,901


        196 Street Dcnvcr,Colorado 80294.

              DATED this̲day ofNovember2 2011

                                                             Resp∝ Iヽ 1ly sub血 tcd,

                                                             ERIC HOLDER
                                                             Attomcy Gcneral ofthc United Sutes

                                                             BARRY R.GRISSOM

                                                                                 μ    ̲″
                                                             RICHARD L HATHAWAY
                                                             Special Atto叫
                                                             444S̲EQ」 ncyt Suitc 290
                                                             Topeka KS 683‐ 3592
                                                             Tel:785‑295‐ 2850
                                                             Fax:785.29512853




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